USCA4 Appeal: 0&961916-P@o0S632KB DbitehiGd/7920led Bu/daptd Page 1 ofl@tal Pages:(3 of 3)

FILED: January 24, 2019

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

 

No. 18-4519
(1:16-cr-00363-JKB-7)

 

UNITED STATES OF AMERICA
Plaintiff - Appellee

Vv.
JOSEPH LAURENCE BONDS, a/k/a Joe, a/k/a Yo Gotti

Defendant - Appellant

 

JUDGMENT

 

In accordance with the decision of this court, the judgment of the district
court is affirmed in part. The appeal is dismissed in part.
This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

/s/ PATRICIA 8. CONNOR, CLERK

 

 
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UNPUBLISHED

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No, 18-4519

UNITED STATES OF AMERICA,
Plaintiff - Appellee,

v.
JOSEPH LAURENCE BONDS, a/k/a Joe, a/k/a Yo Gotti,

Defendant - Appellant.

Appeal from the United States District Court for the District of Maryland, at Baltimore.
James K, Bredar, Chief District Judge. (1:16-cr-00363-JKB-7)

Submitted: January 22, 2019 Decided: January 24, 2019
Before MOTZ, KEENAN, and FLOYD, Circuit Judges.
Affirmed in part and dismissed in part by unpublished per curiam opinion.

David R. Solomon, LAW OFFICE OF DAVID R. SOLOMON, ESQUIRE, Baltimore,
Maryland, for Appellant. Peter Jeffrey Martinez, Assistant United States Attorney,
OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.

 

Unpublished opinions are not binding precedent in this circuit.

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PER CURIAM:

Joseph Laurence Bonds appeals the 90-month sentence imposed following his
guilty plea to conspiracy to participate in a racketeering enterprise, in violation of 18
U.S.C. § 1962(d} (2012). On appeal, Bonds’ counsel has filed a brief pursuant to Anders
v. California, 386 U.S. 738 (1967), stating that there are no meritorious grounds for
appeal but questioning the district court’s calculation of the Sentencing Guidelines range.
Although notified of his right to do so, Bonds has not filed a pro se supplemental brief.
The Government has moved to dismiss the appeal based on the appeal waiver contained
in Bonds’ plea agreement. For the reasons that follow, we affirm in part and dismiss in
part.

We review de novo the validity of an appeal waiver. United States v. Thornsbury,
670 F.3d 532, 537 (4th Cir. 2012). An appeal waiver “preclude[s] a defendant from
appealing a specific issue if the record establishes that the waiver is valid and the issue
being appealed is within the scope of the waiver.” United States v. Archie, 77) F.3d 217,
221 (4th Cir. 2014). A defendant validly waives his appeal rights if he agreed to the
waiver “knowingly and intelligently.” United States v. Manigan, 592 F.3d 621, 627 (4th
Cir. 2010), “To determine whether a waiver is knowing and intelligent, we examine the
totality of the circumstances, including the experience and conduct of the accused, as
well as the accused’s educational background and familiarity with the terms of the plea
agreement.” Thornsbury, 670 F.3d at 537 (internal quotation marks omitted). Generally,
if a court fully questions a defendant regarding the waiver of his right to appeal during

the Fed. R. Crim. P. 11 colloquy, the waiver is both valid and enforceable. Jd.
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Our review of the Rule 11 colloquy confirms that Bonds knowingly and
voluntarily waived his right to appeal whatever sentence the district court imposed. For
this reason, and because Bonds’ sentence does not exceed the statutory maximum, we
conclude that the valid appeal waiver bars any challenge to Bonds’ sentence.
Accordingly, we grant the Government’s motion to dismiss in part and dismiss the appeal
as to Bonds’ sentencing claims and any other issues within the compass of the waiver.

In accordance with Anders, we have reviewed the entire record in this case and
have found no meritorious grounds for appeal that fall outside the scope of Bonds’ valid
appeal waiver. We therefore dismiss the appeal in part and affirm the district court’s
judgment as to any issues not precluded by the appeal waiver. This court requires that
counsel inform Bonds, in writing, of the right to petition the Supreme Court of the United
States for further review. If Bonds requests that a petition be filed, but counsel believes
that such a petition would be frivolous, then counsel may move in this court for leave to
withdraw from representation. Counsel’s motion must state that a copy thereof was
served on Bonds.

We dispense with oral argument because the facts and legal contentions are
adequately presented in the materials before this court and argument would not aid the

decisional process.

AFFIRMED IN PART,
DISMISSED IN PART

 
 

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FILED: January 24, 2019

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 18-4519, US v. Joseph Bonds
1:16-cr-00363-JKB-7

 

NOTICE OF JUDGMENT .

 

Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please
be advised of the following time periods:

PETITION FOR WRIT OF CERTIORARI: To be timely, a petition for
certiorari must be filed in the United States Supreme Court within 90 days of this
court's entry of judgment. The time does not run from issuance of the mandate. Ifa
petition for panel or en banc rehearing is timely filed, the time runs from denial of
that petition. Review on writ of certiorari is not a matter of right, but of judicial
discretion, and will be granted only for compelling reasons.

(WWwW.supremecourt. gov)

VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED

COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is —
being made from CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher
through the CJA eVoucher system. In cases not covered by the Criminal Justice
Act, counsel should submit the Assigned Counsel Voucher to the clerk's office for
payment from the Attorney Admission Fund. An Assigned Counsel Voucher will

be sent to counsel shortly after entry of judgment. Forms and instructions are also
available on the court's web site, www.ca4.uscourts.gov, or from the clerk's office.

BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
39, Loc. R. 39(b)).

 
 

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PETITION FOR REHEARING AND PETITION FOR REHEARING EN
BANC: A petition for rehearing must be filed within 14 calendar days after entry of
judgment, except that in civil cases in which the United States or its officer or
agency is a party, the petition must be filed within 45 days after entry of judgment.
A petition for rehearing en banc must be filed within the same time limits and in the
same document as the petition for rehearing and must be clearly identified in the
title. The only grounds for an extension of time to file a petition for rehearing are
the death or serious illness of counsel or a family member (or of a party or family
member in pro se cases) or an extraordinary circumstance wholly beyond the
control of counsel or a party proceeding without counsel.

Each case number to which the petition applies must be listed on the petition and
included in the docket entry to identify the cases to which the petition applies. A
timely filed petition for rehearing or petition for rehearing en banc stays the
mandate and tolls the running of time for filing a petition for writ of certiorari. In
consolidated criminal appeals, the filing of a petition for rehearing does not stay the
mandate as to co-defendants not joining in the petition for rehearing. In
consolidated civil appeals arising from the same civil action, the court's mandate
will issue at the same time in all appeals.

A petition for rehearing must contain an introduction stating that, in counsel's
judgment, one or more of the following situations exist: (1) a material factual or
legal matter was overlooked; (2) a change in the law occurred after submission of
the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
Supreme Court, this court, or another court of appeals, and the conflict was not
addressed; or (4) the case involves one or more questions of exceptional
importance. A petition for rehearing, with or without a petition for rehearing en
banc, may not exceed 3900 words if prepared by computer and may not exceed 15
pages if handwritten or prepared on a typewriter. Copies are not required unless
requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

MANDATE: In original proceedings before this court, there is no mandate. Unless
the court shortens or extends the time, in all other cases, the mandate issues 7 days
after the expiration of the time for filing a petition for rehearing. A timely petition
for rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
days later. A motion to stay the mandate will ordinarily be denied, unless the
motion presents a substantial question or otherwise sets forth good or probable
cause for a stay. (FRAP 41, Loc. R. 41).

 
